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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

       v.                                                     DECISION AND ORDER
                                                                  14-CR-214S
EDWARD GREEN,

                             Defendant.



       1.     On August 12, 2015, the Defendant entered into a written plea agreement

(Docket No. 132) and pled guilty to Count 20 of the Indictment (Docket No. 1) charging

a violation of Title 21 U.S.C. § 860(a) (possession with intent to distribute, and

distribution of, cocaine base within 1,000 feet of public housing property].

       2.     On August 12, 2015, the Honorable Leslie G. Foschio, United States

Magistrate Judge, filed a Report and Recommendation (Docket No. 134) recommending

that Defendant’s plea of guilty be accepted and the Defendant adjudicated guilty.

       3.     This   Court    has   not   received    objections   to   the     Report   and

Recommendation in accordance with 28 U.S.C. §636(b)(1) and Local Rule 59(b).

       4.     This Court has carefully reviewed de novo Judge Foschio’s August 12,

2015, Report and Recommendation, the plea agreement, the Indictment, and the

applicable law. Upon due consideration, this Court finds no legal or factual error in

Judge Foschio’s Report and Recommendation, and will accept Judge Foschio’s

recommendation that Defendant’s plea of guilty be accepted and that the Defendant be

adjudicated guilty as charged.
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         IT HEREBY IS ORDERED, that this Court accepts Judge Foschio’s August 12,

2015, Report and Recommendation (Docket No. 134) in its entirety, including the

authorities cited and the reasons given therein.

         FURTHER, that the plea of guilty of Defendant, Edward Green is accepted, and

he is now adjudged guilty of Title 21 U.S.C. § 860(a).

         SO ORDERED.


Dated:     September 9, 2015
           Buffalo, New York


                                                       /s/William M. Skretny
                                                      WILLIAM M. SKRETNY
                                                     United States District Judge




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